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                       Exhibit I
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                                                                         1

 1                  UNITED STATES DISTRICT COURT
 2                  EASTERN DISTRICT OF LOUISIANA
 3         IN RE: OIL SPILL              )    MDL NO. 2179
           by the OIL RIG                )
 4         "DEEPWATER HORIZON" in        )    SECTION "J"
           the GULF OF MEXICO, ON        )
 5         APRIL 20, 2010                )    JUDGE BARBIER
                                         )
 6                                       )    MAG. JUDGE
                                         )    SHUSHAN
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20                             VOLUME 1 OF 2
21

22              Deposition of THOMAS ROTH, taken at
23         Hilton St. Charles Hotel, 333 St. Charles
24         Avenue, Le Moyne Room, New Orleans,
25         Louisiana, on the 25th of July, 2011.


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 1         information?
 2               A.   I have not signed anything with
 3         BP.
 4               Q.   Have you signed anything with
 5         Halliburton not to disclose any
 6         information?
 7               A.   I probably made a signature on my
 8         application 32 years ago, but nothing
 9         since then.
10               Q.   And since then, have you signed
11         any confidentiality agreements?
12               A.   No, sir.
13               Q.   All right.    Now, you mentioned
14         that you had given some presentations to
15         various people, and I'm assuming you're
16         talking about those you gave to Congress?
17               A.   Yes, sir.
18               Q.   And then you gave one, I think, to
19         the NEA and the NCR?
20               A.   National Academy of Engineering
21         and Science.
22               Q.   Okay.   And -- and the National
23         Research Council?
24               A.   The National Research Council?
25               Q.   I think that's what it was called.


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 1         We'll find it here in a little bit.
 2         National Academy of Engineering and
 3         National Research Council?
 4              A.   If that's the same group, I gave
 5         one presentation to that group.
 6              Q.   September 26th, 2010?
 7              A.   Yes, sir.
 8              Q.   We'll get to that.       That is
 9         something we'll have here to look at.
10                        And then you -- you talked to
11         Congress?
12              A.   Yes.
13              Q.   Was it one committee or two?
14              A.   I talked to the Energy and
15         Commerce staff on several occasions, and
16         then there were individual staff briefings
17         that our Washington office would arrange.
18         I'd sit with those groups and review the
19         presentation that had been given to Energy
20         and Commerce or to answer any specific
21         questions that they may have.
22              Q.   When you met with staff to --
23         first let me ask you, which staff did you
24         meet with?     Energy and Commerce staff,
25         right?


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 1              A.   Energy and Commerce and a number
 2         of different senators' and congressional
 3         staff members' staffs.        I don't recall the
 4         names.
 5              Q.   Was all that in the same time
 6         frame of July and August of 2010?
 7              A.   July, August, and September, as --
 8         as I recall.
 9              Q.   How many of those meetings did you
10         have?
11              A.   A dozen.
12              Q.   A dozen?
13                        Who did you have with you from
14         Halliburton to help?
15              A.   I had Robert Moran, who is our
16         vice president of government relations at
17         our Washington office; and we had
18         Halliburton counsel, as well as outside
19         counsel, who would attend those meetings
20         with us.
21              Q.   Halliburton counsel, you mean
22         in-house counsel?
23              A.   Yes, sir.
24              Q.   And your out-house counsel was --
25         was that Mr. Godwin?


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                                                                         33

 1                        MR. HILL:     Out-house?
 2                        MR. MADIGAN:     We don't call
 3         them out-house counsel.
 4                        MR. THORNHILL:      I thought I'd
 5         get a rise out of Gavin.
 6              A.   Don Godwin also attended those
 7         meetings -- several of those meetings, not
 8         all of them.     And we also had an attorney
 9         from our Washington office.
10              Q.   Moran, is that M-O-R-A-N?
11              A.   M-O-R-A-N.
12              Q.   And he's in Washington, DC but a
13         regular employee of the company?
14              A.   Yes.
15              Q.   All right.     Did -- did someone
16         provide an agenda for those meetings,
17         other than the PowerPoints, which I saw,
18         and you mentioned earlier you reviewed
19         with these folks?
20              A.   There was generally a theme that
21         would be identified in response to
22         questions from those groups.         The first
23         presentation that we were asked to -- to
24         make, basically the instruction was to
25         provide a one-on-one level of instruction


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